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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE



 JOHN DOE,

                      Plaintiff,                  Civil Action No. 19-cv-000013-JL
        v.

TRUSTEES OF DARTMOUTH COLLEGE,

                      Defendant.



                      MEMORANDUM OF LAW IN SUPPORT OF
               PLAINTIFF’S MOTION FOR EXPEDITED CONSIDERATION

       Plaintiff John Doe, by and through his attorneys, Shaheen & Gordon, P.A., respectfully

offers this Memorandum of Law in Support of his Motion for Expedited Consideration.

  I.   Background

       On January 7, 2019, John filed a Verified Complaint (Doc. 1) against the Trustees of

Dartmouth College (“Dartmouth”), bringing claims for Violation of Title IX, Breach of Contract,

Breach of Implied Covenant of Good Faith and Fair Dealing, and Negligence related to

Dartmouth’s unfair and procedurally-deficient investigation of an allegation that John sexually

assaulted another student, which culminated in a finding against John and his expulsion from

Dartmouth following the conclusion of the Fall 2018 Term.

       John also filed his Motion for Preliminary Injunction (“PI Motion”) (Doc. 4) and

supporting Memorandum of Law (“Memo”) (Doc. 4-1) contemporaneously with his Verified

Complaint, seeking to enjoin his expulsion pending a decision from Dartmouth on John’s appeal

of its expulsion, or, if Dartmouth denies his appeal, pending the outcome of this case. In the
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interest of not burdening the Court with additional filings, John incorporates by reference his

Memo and the arguments presented therein.

        On January 10, 2019, John filed a Motion for Temporary Restraining Order (“TRO

Motion”) (Doc. 13). The TRO Motion was denied on January 11, 2019 after a hearing. John

incorporates by reference his TRO Motion and the arguments presented therein.

        On January 24, 2019, the PI Motion was denied after a hearing.

             a. Court’s February 1 Telephonic Conference

        On February 1, 2019, the Court held a telephonic conference with counsel for John and

Dartmouth for the purpose of discussing the trial schedule. During the conference, counsel for

John sought an expedited schedule. Counsel for Dartmouth opposed such a schedule. The Court

stated that it was not inclined to order an expedited schedule where the parties were not in

agreement, but that John could file a motion for expedited consideration. The Court further

stated that if it were to grant such a motion, it would be inclined to do so only if the expedited

schedule would allow for John to graduate on time at the conclusion of the Spring 2020 Term.1

Counsel indicated that they would work together to determine whether John would be able to

graduate on time if a trial were held on an expedited basis in May or June of 2019.

        Following the telephonic conference, the parties conferred on the issue of whether it was

possible for John to complete the remaining required courses for his Economics degree and

graduate on time in Spring of 2020 if the case was tried on an expedited basis in May or June

2019. In the process of conferring on this issue, counsel for Dartmouth stated in an email that

John “needs an additional 15 credits to graduate,” and that “[i]f he is able to return to classes for

Summer’19 term, there are 4 terms between now and his originally anticipated graduate date in


1
 This was an issue in which the Court also expressed interest during the hearing on John’s PI Motion. See Exhibit
A attached hereto (excerpt of transcript of hearing on PI Motion) at 319:2-20.


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Spring 2020.” Counsel for Dartmouth acknowledged that John “could get to 15 credits by taking

4 courses in 3 of those terms and 3 credits in the remaining term.” Despite this

acknowledgement, counsel for Dartmouth concluded that it “cannot be determined” at this time

whether John could graduate on time because “[i]t is not necessarily the case that every course

[John] needs would be available at the time he would need to take it.”

             b. John’s Remaining Graduation Requirements at Dartmouth

        Prior to his expulsion at the conclusion of the Fall 2018 Term, John was enrolled in

Dartmouth’s Economics program. The combined undergraduate and Economics program

requirements result in the following course requirements for John’s degree2:

             A. John needs 35 credits to graduate;

             B. First-Year requirements included a writing requirement and a First-Year Seminar;

             C. Must complete through Level 3 of a language by the end of his 7th term;

             D. Distributive Requirement: one course in each of eight categories;

             E. World Culture Requirement: one course in each of three categories;

             F. Economics prerequisites: Economics 1, Economics 10, and Mathematics 3;

             G. Economics “Requirement I”: Economics 20, Economics 21, and Economics 22;

             H. Economics “Requirement II”: Must take two sequences consisting of two to three
                courses, out of 23 possible sequences, with one sequence ending in a “culminating
                experience”;

             I. Economics “Requirement III”: Must take a total of six courses numbered above
                10 – depending on which sequences taken in Requirement II, may need to take
                one or two additional economics courses.

        The following chart illustrates which requirements John has completed and which he has

yet to complete. For those requirements that have not been completed, John’s preferred method


2
 Attached hereto as Exhibits B and C are an undergraduate degree requirements presentation given to the Class of
2020 and an Economics Major Worksheet. These two documents set forth the requirements John must fulfill to
complete and obtain his Economics degree.


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and timeline for completion – assuming a return to Dartmouth for the Summer 2019 Term – are

provided in bold:

 Requirement                     Completed?                       John’s preferred plan for
                                                                  completion

 35 credits                      No; John has completed 20        Take 4 credits in three
                                 credits                          terms and 3 credits in one
                                                                  term

 First-Year writing              Yes
 requirement and Seminar

 Language requirement            Yes

 Distributive Requirement        No; John has two remaining       Take the two remaining
                                 courses                          courses during the
                                                                  remaining terms

 World Culture Requirement       No; John has one remaining       Take the one remaining
                                 course                           course during the
                                                                  remaining terms

 Economic Prerequisites          Yes

 Economics Requirement I         No; John still needs to take     Take Economics 20 during
                                 Economics 20                     the Summer 2019 Term

 Economics Requirement II        No; John still needs to take     Take sequences 26-36-46
                                 two sequences, one of which      (which includes a
                                 must include a culminating       culminating experience)
                                 experience                       and 29-39; Economics 26 is
                                                                  offered during the Summer
                                                                  2019 Term

 Economics Requirement III       Yes



       As counsel for Dartmouth has pointed out, the course schedules for terms following the

Summer 2019 Term have not been established. However, it is unreasonable to conclude merely

from the absence of course schedules that John will not be able to complete his degree on time if

he were able to return for the Summer 2019 Term. By the time the Summer 2019 Term comes,



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John will have missed two terms in a row, but this does not necessarily set him farther back than

other students in his class, since Dartmouth’s D-Plan term system permits students significant

flexibility to be off campus during multiple terms, especially during their third year.3 Therefore,

John is in no different position with respect to scheduling than a student who has voluntarily

taken two semesters off campus and is returning Summer 2019 with the intention of graduating

in Spring 2020. It would be unreasonable for Dartmouth to take the position that it is “uncertain”

whether those students would be able to complete their remaining degree requirements on time to

graduate with their classmates at the end of the Spring 2020 Term.

         Furthermore, if John were reinstated for the Summer 2019 Term and discovered that the

courses being offered in his senior year would not allow him to complete the degree

requirements in the manner in which he would prefer – i.e. by taking his preferred sequences and

Economics courses – he would simply take whatever courses were offered that would permit him

to complete the degree requirements. Dartmouth’s current position is based on the uncertainty

surrounding whether John’s specific preferred courses will be offered; certainly Dartmouth does

not take the unreasonable position that so few Economics courses will be offered in the 2019-

2020 academic year that John – or a similarly-situated student – could not cobble together any

set of courses over three terms to satisfy the remaining requirements.




3
  Dartmouth utilizes a unique term scheduling system for its undergraduate programs called the “D-Plan.” Under
the D-Plan, “Dartmouth offers four 10-week terms per year,” Fall, Winter, Spring and Summer. “A Flexible Study
Plan,” Dartmouth.edu, https://home.dartmouth.edu/education/undergraduate-experience/flexible-study-plan.
“[W]ithin some guidelines, you choose which 12 terms to enroll” to constitute their undergraduate programs. Id. In
their first year, students are required to enroll in the Fall, Winter, and Spring terms, and may choose to enroll in the
Summer term. In their Sophomore year, students are required to enroll in the Summer term (“Sophomore
Summer”), and may enroll in as many or as few of the other three terms as they wish. In their Junior year, students
have full freedom for all four terms. Finally, students’ Senior year is identical to their first year.


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          Accordingly, John maintains that in the event he prevails at trial and is able to return to

Dartmouth for the Summer 2019 Term,4 it would be possible for him to complete his degree and

graduate on time at the end of the Spring 2020 Term.

    II.   Legal Discussion

             a. Good Cause Exists for Expedited Consideration of This Case

          “[T]he court shall expedite the consideration of any action . . . if good cause therefor is

shown.” 28 U.S.C. § 1657(a). “‘[G]ood cause’ is shown if a right under . . . a Federal Statute . .

. would be maintained in a factual context that indicates that a request for expedited

consideration has merit.” Id. In its August 31, 1984 Committee Report, the House Judiciary

Committee stated the following regarding the “good cause” standard:

             The “good cause” standard could properly come into play, for example, in a case in
             which failure to expedite would result in mootness or deprive the relief requested of
             much of its value[,] in a case in which failure to expedite would result in
             extraordinary hardship to a litigant, or actions where the public interest in
             enforcement of the statute is particularly strong.

H.R. REP. 98-985, 6, 1984 U.S.C.C.A.N. 5779, 5784.

          John’s action against Dartmouth alleges that Dartmouth violated his “right under a

Federal statute” – i.e., his right to be free from discrimination in his pursuit of higher education

as guaranteed under Title IX of the Education Amendments Act of 1972. The “factual context”

of that claim, and John’s other claims, is familiar to the Court and demonstrates that John is

likely to suffer irreparable harm in the absence of expedited relief.




4
  The Summer 2019 Term begins on June 20, 2019. The Court’s current open trial date of June 18 would very likely
result in a trial that stretches one or two weeks beyond the start of the Term. Nonetheless, John maintains that his
absence from classes for the first two weeks of the Term would not completely hinder his ability to complete the
courses in that Term successfully (see TRO Motion), provided the Court orders Dartmouth to enroll John
retroactively for the Summer 2019 Term and to ensure that his absence prior to his enrollment is not held against
him.


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        One purpose of the requested injunction is to allow John to resume his education at

Dartmouth and continue his studies without further interruption or effect on his ability to

graduate on time at the end of the Spring 2020 Term. If John is deprived of the ability to

complete his degree on time and graduate with the Class of 2020 next spring, then the requested

relief will have been deprived of much of its value, as the Court recognized during the hearing on

the PI Motion. See Exhibit A at 318:12-319:20 (“If John doesn’t get this injunction and decides

he wants to try to finish at Dartmouth, can he graduate on time without taking, you known, an

unbelievably burdensome course load in many terms? . . . But I am curious about whether he . . .

can finish school on time, both with respect to, A, this injunction and, B, with respect to when I

schedule this trial because we may be putting it on a faster track than anybody really wants to.

Because if I don't grant the injunction, I would like to at least give an answer to these parties that

might enable John Doe to graduate from the school that accepted him as a freshman if a jury

finds that Dartmouth -- just as it found in this court against Phillips Exeter not that long ago --

that it violated a breach of contract. . . . if there’s going to be a trial here, it probably ought to be

scheduled on a track that gets it resolved in a way that allows him to graduate on time.”).

        Furthermore, in addition to John’s inability to graduate on time, the failure to provide

expedited consideration of this case will only exacerbate the irreparable harm John has suffered

and will continue to suffer as a result of his expulsion from Dartmouth, including the harms

outlined in his PI Motion and Memo and TRO Motion. Notably, the delayed resolution of this

matter will likely prejudice John’s ability to transfer to another school in time for the upcoming

fall semester, thereby further delaying his completion of a degree, and could result in his

inability to return to a collegiate hockey program – at Dartmouth or elsewhere – in time to play

during the upcoming 2019-2020 season, thereby depriving him of his fourth and final year of




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NCAA eligibility. If trial is held in the fall of this year – as Dartmouth urges – and John

ultimately prevails on his claims, he will have been irreparably harmed by his absence from

Dartmouth since the beginning of the year, in terms of his education, his collegiate athletic

career, and the impact of a gap in education on his future professional career opportunities.

        Section 1657(a) requires expedited consideration where the “factual context . . . indicates

that a request for expedited consideration has merit.” The use of “merit” in this provision does

not require John to prove a substantial likelihood of success on the merits of his claim. Rather,

the use of “merit” in the statute’s definition of “good cause” is simply intended “to emphasize

the type of factual inquiry which the court should make” in order to “preclude clearly frivolous

lawsuits from being granted expedited treatment.” H.R. REP. 98-985, 5, 1984 U.S.C.C.A.N.

5779, 5783 (emphasis added). See also Ferguson v. F.B.I., 722 F. Supp. 1137, 1144 (S.D.N.Y.

1989) (holding that plaintiff’s claim under Freedom of Information Act had sufficient “merit” for

expedited relief because it was not “frivolous”).

        John maintains that his claims all have merit. During the hearing on the PI Motion, the

Court expressed its belief that John’s breach of contract and violation of Title IX claims were

meritorious enough to survive a motion to dismiss, even if it ultimately found that John failed to

provide a substantial likelihood of success to sustain his PI Motion. See Exhibit A at 319:14-17

(regarding the breach of contract claim: “I don’t view this as a strong case for the plaintiff. . . .

But I also -- it’s not something you’re going to get rid of on . . . 12(b). They’ve stated a claim . .

. .”); Exhibit D attached hereto, excerpt of transcript of hearing on PI Motion, at 332:6-12

(regarding the Title IX claim: “And, frankly, that’s one of the reasons why, honestly, this case

probably -- I don’t want to prejudge anything, I have an open mind if the motion’s filed -- but I

think this case likely survives 12(b) scrutiny. I don’t think it gets dismissed on the complaint.”).




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       Accordingly, John’s claims are sufficiently meritorious to require expedited consideration

under the circumstances of this case.

            b. The Court Has Inherent Authority to Manage Its Docket, Including by Expediting
               Cases

       In addition to having specific statutory authority, if not a mandate, under §1657 to

expedite John’s case, the Court also has inherent authority to do so incident to its authority to

manage its docket. See Clinton v. Jones, 520 U.S. 681, 706–07 (1997) (“The District Court has

broad discretion to stay proceedings as an incident to its power to control its own docket.”);

Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay proceedings is incidental

to the power inherent in every court to control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants.”); In re Atl. Pipe Corp., 304

F.3d 135, 143 (1st Cir. 2002) (“Even apart from positive law, district courts have substantial

inherent power to manage and control their calendars.”); Jones v. Winnepesaukee Realty, 990

F.2d 1, 5 (1st Cir. 1993) (“Trial judges enjoy great latitude in carrying out case-management

functions.”); Wakefield v. Glob. Fin. Private Capital, LLC, No. 15CV0451 JM(JMA), 2015 WL

12699870, at *3 (S.D. Cal. Sept. 17, 2015) (holding that Fed. R. Civ. P. 16 “allow[s] district

courts considerable discretion in managing their dockets and determining case management

orders”).

       The Court’s inherent authority to manage its docket includes the authority to expedite its

consideration of cases, even absent agreement of the parties. See Donets v. Walton, No. CIV.05-

2899 RHK/RLE, 2006 WL 980818, at *1 (D. Minn. Apr. 11, 2006) (granting petitioner’s motion

to expedite based, in part, on the court’s “great latitude in carrying out case-management

functions”).




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       Therefore, it is within the Court’s inherent power to schedule this matter on an expedited

basis to ensure that any relief granted in the event John is successful at trial will not be moot,

ineffective, or devoid of much of its value.

       Request for Relief

       WHEREFORE, John Doe respectfully requests that this Court:

       A.      Grant John’s Motion for Expedited Consideration;

       B.      Expedite consideration of this matter by scheduling trial to begin on May 7, 2019
or June 18, 2019 and setting an expedited discovery and dispositive motion schedule
accordingly; and

       C.      Award any such further relief as the Court deems just and proper.



                                                       Respectfully submitted,


Date: February 13, 2019                                /s/ William E. Christie
                                                       WILLIAM E. CHRISTIE
                                                       NH Bar #11255
                                                       S. AMY SPENCER
                                                       NH Bar #266617
                                                       ALEXANDER W. CAMPBELL
                                                       NH Bar #268958
                                                       SHAHEEN & GORDON, P.A.
                                                       107 Storrs Street
                                                       Concord NH 03302
                                                       (603) 225-7262
                                                       wchristie@shaheengordon.com
                                                       saspencer@shaheengordon.com
                                                       acampbell@shaheengordon.com

                                                       Attorneys for plaintiff John Doe




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                                CERTIFICATE OF SERVICE

       I, William E. Christie, hereby certify that a copy of the foregoing document, filed through
the CM/ECF system, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF).


                                                     /s/ William E. Christie
                                                     William E. Christie




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